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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                  :
                                          :
             v.                           :         Case No. 22-mj-22
                                          :
ILYA LICHTENSTEIN, and                    :
                                          :
HEATHER MORGAN,                           :
                                          :
             Defendants.                  :
                                          :

                                         ORDER

       Upon consideration of the Government’s Motion for Emergency Stay and for Review of

Detention Order

       It is this _________ day of February 2022,

       ORDERED, that the Motion for an Emergency Stay is hereby GRANTED and the

release order entered by Southern District of New York Magistrate Judge Freeman on February

8, 2022 is STAYED pending review of the detention decision by this Court.




                                                    BERYL A. HOWELL
                                                    CHIEF JUDGE
                                                    UNITED STATES DISTRICT COURT
                                                    FOR THE DISTRICT OF COLUMBIA
